Name, Case
      Address2:19-cv-10202-DDP-E      Document 40 Filed 07/24/20 Page 1 of 1 Page ID #:415
              and Telephone Number of Attorney(s):
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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                       CASE NUMBER
NOMADIX, INC.,
                                                                                          CV19-10202 DDP (Ex)
                                                        Plaintiff(s)
                                v.

SIA MIKROTɘKLS; MICROCOM TECHNOLOGIES,
                                                                                        REQUEST:
INC.; CREATIVE WIRELESS, INC.; and GLOBAL IT
                                                                                 ADR PROCEDURE SELECTION
COMMUNICATIONS, INC.,
                                                     Defendant(s).


      Pursuant to L.R. 16-15, the parties request that the Court approve the following ADR
procedure:

            ✔     ADR PROCEDURE NO. 1 - The parties shall appear before the
                  ✔  magistrate judge assigned to the case or  the magistrate judge in Santa Barbara
                  for such settlement proceedings as the judge may conduct or direct.

                  ADR PROCEDURE NO. 2 - The parties shall appear before a neutral selected
                  from the Court’s Mediation Panel.

                  ADR PROCEDURE NO. 3 - The parties shall participate in a private dispute
                  resolution proceeding.


         Dated: July 24, 2020                          /s/ Mark Lezama

                                                       Attorney for Plaintiff Nomadix, Inc.

         Dated:

                                                       Attorney for Plaintiff

         Dated: July 24, 2020                          /s/ Mark Skapik (with permission)

                                                       Attorney for Defendant Global IT Communications, Inc.

         Dated:

                                                       Attorney for Defendant

NOTE: If additional signatures are required, attach an additional page to this request.


ADR-01 (04/18)                              REQUEST: ADR PROCEDURE SELECTION                                    Page 1 of 1
